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                                 No. 21-2835

                                    In the
                   United States Court of Appeals
                        for the Third Circuit
                ─────────────♦─────────────
                      BRYAN DAVID RANGE,

                             Plaintiff-Appellant,

                                       v.

        ATTORNEY GENERAL OF THE UNITED STATES, et al.,

                            Defendants-Appellees,

                ─────────────♦─────────────
                On Appeal from the United States District Court
                   for the Eastern District of Pennsylvania
                       Case No. 5:20-CV-03488-GEKP
                ─────────────♦─────────────
               SUPPLEMENTAL BRIEF OF PLAINTIFF-APPELLANT
                ─────────────♦─────────────

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                                 INTRODUCTION

      In United States v. Rahimi, the Supreme Court “conclude[d] only this: An

individual found by a court to pose a credible threat to the physical safety of another

may be temporarily disarmed consistent with the Second Amendment.” 144 S. Ct.

1889, 1903 (2024). On its face, Rahimi’s holding does not apply to Bryan Range.

Indeed, Range’s case is, in many ways, the opposite of Rahimi. Rahimi was a facial

challenge to Section 922(g)(8); Range challenges Section 922(g)(1) only as applied

to himself. Rahimi involved an extensive recent history of violent behavior that

culminated in a court specifically finding that Rahimi posed a danger of physical

violence to others; the Government has expressly “admit[ted]” that “Range has never

engaged in violence, nor has he ever threatened anyone with violence,” JA 171, and

his only adverse legal finding was that, over thirty years ago, he made false

statements about his income in an application for food stamps. Rahimi was

temporarily disarmed for the duration of a restraining order; Range has been

disarmed for over thirty years and, if Section 922(g)(1) is constitutional as applied

to him, there is no end date for his disarmament.

      Rahimi is not, therefore, directly relevant to this case. But in demonstrating

an application of the framework laid out in New York State Rifle & Pistol

Association, Inc. v. Bruen, 597 U.S. 1 (2022), it provides additional context to guide

this Court in its historical analysis of the contours of the Second Amendment right.

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On that front, it is entirely supportive of Range and reinforces the en banc majority’s

conclusion that Range cannot permanently be denied the right to possess firearms

for lawful purposes, based merely on a 30-year-old non-violent conviction.

      Given that Rahimi only bolsters the en banc majority’s reasoning and calls

none of this Court’s previous conclusions into question, an appropriate response by

this Court to the Supreme Court’s order granting certiorari, vacating judgment, and

remanding for further consideration, see Garland v. Range, No. 23-374, 2024 WL

3259661 (U.S. July 2, 2024) (Mem.), would be “summary reissuance of the same

opinion,” Wellons v. Hall, 558 U.S. 220, 228 (2010) (Scalia, J., dissenting). Indeed,

to the extent Rahimi requires altering the previous en banc opinion in this case at all,

the majority may simply insert additional reasons for rejecting the Government’s

arguments regarding Range at both the textual and historical level of the analysis,

with cites to Rahimi, and the en banc dissenters should join the majority or at a

minimum omit several of their arguments that are entirely out of bounds following

that decision. But no other changes need to be made. This Court should therefore not

delay in reaffirming its pre-Rahimi decision that Section 922(g)(1) is

unconstitutional as applied to Range.




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                                   ARGUMENT

 I.   Rahimi’s Narrow Holding That Section 922(g)(8) Is Facially
      Constitutional Does Not Bear Directly on the Constitutionality of Section
      922(g)(1).

      In Rahimi, the Supreme Court held that 18 U.S.C. § 922(g)(8), which prohibits

a person subject to a domestic violence restraining order from possessing a firearm

for the duration of that restraining order, was not facially unconstitutional. Indeed,

the Court said, it was constitutional as applied to Rahimi himself, because his

restraining order “contain[ed] a finding that [he] pose[d] a credible threat to the

physical safety of [his] intimate partner.” Rahimi, 144 S Ct. at 1896.

      In so holding, Rahimi implicitly found that the text of the Second Amendment

(which extends, under District of Columbia v. Heller, to “all Americans,” 554 U.S.

570, 581 (2008)), was implicated by Rahimi’s challenge. The Court wasted no time

discussing the text of the Second Amendment, but its brevity was itself noteworthy,

for it demonstrated that the Second Amendment’s presumptive protection of the

rights of all “the people” is “unqualified.” Bruen, 597 U.S. at 17.

      Rather, the Court focused the entirety of its analysis on “considering whether

the challenged regulation is consistent with the principles that underpin our

regulatory tradition.” Rahimi, 144 S. Ct. at 1898. Examining the historical record,

the Court noted that although going back to “the earliest days of the common law”

there were examples of laws that permitted disarming certain groups (including


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“political opponents [of the sovereign] and disfavored religious groups”), those laws

were largely defunct by the Founding, with the exception of “regulations targeting

individuals who physically threatened others.” Id. at 1899. Those latter laws came

in “two distinct legal regimes.” Id. There were “surety laws” which “provided a

mechanism for preventing violence before it occurred” by requiring an individual

who was found to pose a risk of violence to post sureties which would be forfeit in

case of criminal violence, id. at 1899–1900, and “going armed laws” which

“provided a mechanism for punishing those who had menaced others with firearms”

and punished “affray[ers]” with imprisonment and forfeiture of their arms, id. at

1900–01. Putting those two regulatory strands together, the Court found that history

proved “what common sense suggests,” namely that: “An individual found by a

court to pose a credible threat to the physical safety of another may be temporarily

disarmed consistent with the Second Amendment.” Id. at 1901, 1903.

      That holding does not overlap with this case at all. Whereas Rahimi was

temporarily disarmed after a court found he posed a threat of future violence, the

Government would disarm Range for life, having admitted he’s not a danger to

anyone, JA 171, based only on a conviction for making false statements in an

application for food stamp benefits. Therefore, just as before Rahimi, the burden

remains on the Government to show that the Second Amendment’s text, as informed




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by history, supports permanent disarmament following a conviction wholly

unrelated to violence or danger.

II.   Rahimi’s Reasoning Confirms Range Cannot Be Disarmed For Life.

      At each point of its analysis, the en banc majority’s opinion that Section

922(g)(1) is unconstitutional as applied to Range is bolstered, not undermined, by

Rahimi. Beginning with the text of the Second Amendment, the majority held that

Range was a member of “the people,” despite the fact that he had been convicted of

a crime. Range v. Att’y Gen., 69 F.4th 96, 101 (3d Cir. 2023) (en banc). In so holding,

the majority specifically rejected the Government’s claim (also taken up by the

dissenters) that when the Supreme Court had used the phrase “law-abiding,

responsible citizens” to describe the plaintiffs in Heller, McDonald, and (several

times) in Bruen, it had limited the textual scope of the Second Amendment to only

individuals who were both “law-abiding” and “responsible.” Compare id. at 101–03

(maj. op.), with id. at 114 (Schwartz, J., dissenting) and id. at 119 (Krause, J.,

dissenting). The majority noted that “the criminal histories of the plaintiffs in Heller,

McDonald, and Bruen were not at issue in those cases” so the statements were dicta,

not a definitive limitation on the textual scope of the right. Id. at 101. Furthermore,

“the phrase ‘law-abiding, responsible citizens’ is as expansive as it is vague,” and

“the Government’s claim that only ‘law-abiding, responsible citizens’ are protected

by the Second Amendment devolves authority to legislators to decide whom to


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exclude from ‘the people,’ ” a proposition that is antithetical to the very nature of

constitutional rights. Id. at 102.

      This tracks Rahimi perfectly. Although Rahimi did not spend any time

specifically discussing the text of the Second Amendment, it did go out of its way to

“reject the Government’s contention that Rahimi may be disarmed simply because

he is not ‘responsible.’ ” Rahimi, 144 S. Ct. at 1903 (citation omitted). Just like the

en banc majority, Rahimi criticized the Government’s proffered rule as “vague,”

noting it was “unclear what such a rule would entail.” Id. It rejected the suggestion

that any such rule could be derived from its Second Amendment precedents,

explaining that while, in the past, it had “used the term ‘responsible’ to describe the

class of ordinary citizens who undoubtedly enjoy the Second Amendment

right[,] . . . those decisions did not define the term and said nothing about the status

of citizens who were not ‘responsible.’ The question was simply not presented.” Id.

And though Rahimi discussed specifically the “responsible” adjective, its criticisms

of the Government’s position extend with equal force to the references to “law-

abiding” citizens in those same cases. The Supreme Court used the terms in the same

way (often together) in Bruen and Heller, neither of which confronted the question

of the status of non-law abiding people vis-à-vis the Second Amendment, and “law

abiding” and “responsible” are equally indefinite terms subject to the same sort of

legislative manipulation. See Range, 69 F.4th at 102 (“Who are ‘law-abiding’


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citizens in this context? Does it exclude those who have committed summary

offenses or petty misdemeanors, which typically result in a ticket and a small fine?

No.”). Justice Thomas, in dissent, equated the two phrases, explaining that “the ‘law-

abiding, dangerous citizen’ test is the Government’s own creation, designed to

justify every one of its existing regulations. It has no doctrinal or constitutional

mooring,” and “[n]ot a single member of the Court adopts the Government’s theory.”

Rahimi, 144 S. Ct. at 1944–45 (Thomas, J., dissenting).

      Rahimi aligns with the majority’s historical analysis as well. At the outset, the

en banc majority explained that in asking whether Range could be disarmed

“ ‘consistent with the Nation’s historical tradition of firearm regulation,’ ” the

Government need only “ ‘identify a well-established and representative historical

analogue, not a historical twin.’ ” Range, 69 F.4th at 103 (quoting Bruen, 597 U.S.

at 24, 30). In doing so, the Court must assess whether “historical and modern

firearms regulations [are] similar enough” by asking “how and why the regulations

burden a law-abiding citizen’s right to armed self-defense.” Id. (quoting Bruen, 597

U.S. at 30). Rahimi agrees. It reiterated that “[w]hy and how the regulation burdens

the right [to keep and bear arms] are central to [the analogical] inquiry,” and

cautioned that while a “law must comport with the principles underlying the Second

Amendment, … it need not be a ‘dead ringer’ or ‘historical twin.’ ” Rahimi, 144 S.

Ct. at 1898 (quoting Bruen, 597 U.S. at 30). Although Rahimi emphasized that the


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Second Amendment does not demand “a law trapped in amber,” and “permits more

than just those regulations identical to ones that could be found in 1791,” 144 S. Ct.

at 1897–98, it also left in place the Court’s warning, in Bruen, that it would be

equally wrong to “uphold every modern law that remotely resembles a historical

analogue, because doing so risks endorsing outliers that our ancestors would never

have accepted.” 597 U.S. at 30 (cleaned up). And though the Government’s aim must

be to elucidate a historical “principle” that is revelatory about the scope of the

Second Amendment, “a court must be careful not to read a principle at such a high

a level of generality that it waters down the right,” Rahimi, 144 S. Ct. at 1926

(Barrett, J., concurring), and it is not at liberty to seek new principles, not found in

history, to curb the scope of the Second Amendment id. at 1912 (Kavanaugh, J.,

concurring) (“History, not policy, is the proper guide.”).

      Following these guidelines, the en banc majority began its discussion of

history by rejecting the Government’s attempt to avoid scrutiny altogether on the

grounds that the statement in Heller that prohibitions on “felons” were

“presumptively lawful” was enough to resolve this case. The Court explained that,

even assuming that statement could be conclusive in some cases, it is not here,

because under the most “longstanding” version of the felon-in-possession ban

(dating to 1938), Range would not have been a prohibited person. See Range, 69

F.4th at 103–04. Indeed, it was only in 1961, 170 years after the ratification of the


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Second Amendment, that Congress enacted a law that would reach individuals with

criminal histories like Range. Id. at 104. Given that Bruen ignored all history from

after the turn of the twentieth century as too late in time to be worth mentioning, see

597 U.S. at 66 n.28, and ultimately held unconstitutional a law that dated to the

“early 1900s,” id. at 11, it would have been incongruous, to say the least, to accept

the Government’s claim that the modern Section 922(g)(1) supplied historical proof

of its own constitutionality.

      Rahimi fully supports this conclusion. Justice Thomas, in dissent, clarified

that the “passing reference” in Heller to felon bans was “dicta” and that reliance on

it is comparable to the “responsible” citizens argument that the majority rejected:

neither could appropriately take the place of the actual historical inquiry that is the

centerpiece of the Second Amendment analysis under Bruen. 144 S. Ct. at 1944 n.7

(Thomas, J., dissenting). And while the Rahimi majority referenced the

“presumptively lawful” language to refute Rahimi’s broad argument that Heller

“established a categorical rule that the Constitution prohibits regulations that forbid

firearm possession in the home,” it reiterated that the prohibition is only

“presumptively lawful.” 144 S. Ct. at 1902 (cleaned up). Furthermore, Section

922(g)(8), which was at issue in Rahimi, was scarcely less “longstanding” than the

modern Section 922(g)(1), having been enacted just 33 years later. See STEPHEN P.

HALBROOK, FIREARMS LAW DESKBOOK § 5:2 n.16 (2023). Rahimi’s own historical


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work, which was predicated on a principle derived from surety laws and “going

armed” prohibitions, emphasized that both regulatory traditions had roots that traced

back at least to the Founding, see 144 S. Ct. at 1900–01, and, with the exception of

one citation to a case from 2010 “recognizing that common-law prohibition on

fighting in public remains even now chargeable in Maryland,” which it used to

confirm its conclusion that the “going armed” laws remained part of America’s

common law tradition with a connection to a much earlier period, id. at 1901, the

Court did not consider any evidence of a relevant regulatory tradition from after the

beginning of the twentieth century. The en banc majority was, therefore, right to

dismiss twentieth century legislation as irrelevant to the scope of the Second

Amendment. Range, 69 F.4th at 103.

      The en banc majority next rejected the Government’s attempt to analogize to

historical laws demonstrating that “ ‘legislatures traditionally used status-based

restrictions’ to disarm certain groups of people,” Id. at 104, laws that one of the

dissents claimed were motivated by the view that the groups in question were

“disloyal to the sovereign,” id. at 115 (Schwartz, J., dissenting). Noting that many

such restrictions, which were frequently targeted at groups defined by race or

religion, “now would be unconstitutional under the First and Fourteenth

Amendments,” the majority concluded they could not justify disarming Range

because the Government had failed to show, even assuming the laws were part of a


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valid tradition of historical regulation, that Range was part of any similar group

today. Id. at 104 (maj. op.). Indeed, accepting for the sake of argument that the

dissent was correct regarding the motivation for those laws, nothing in this case

suggests Range is “disloyal to the sovereign.” Because the principle underlying the

historical regulation would not encompass Range, it is not an appropriate analogue

under Rahimi, even on the dissent’s own terms.

      Moreover, following Rahimi, the dissent’s conception of these laws can be

rejected out of hand. In Rahimi, the Government expressly declined to rely on any

historical laws that restricted firearm rights based on race and took the position that

those laws were not an expression of the principle that the government could disarm

certain groups suspected of disloyalty, but rather they “were [an] application[] of a

separate principle under the Second Amendment, which is that those who are not

considered among the people can be disarmed.” Tr. of Oral Argument at 53:16-19,

United States v. Rahimi, No. 22-915 (Nov. 7, 2023). That statement, which adopts

the position for which Range has advocated in this case, see Pet. for Reh’g En Banc,

Doc. 68 at 13 (Jan. 3, 2023) (“Those laws were targeted at individuals who were not,

at the time, considered to be part of ‘the people’ and were routinely denied other

rights, so they cannot say anything about the colonial era views on the scope of the

right.”), adds an additional reason the majority was correct to disregard those laws,

and refutes the dissent’s alternative view.


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      Rahimi also adds new reasons to reject laws disarming people based on their

religious beliefs as analogues in any Second Amendment case, noting that the

English practice of disarming “political opponents and disfavored religious groups”

had been “largely eliminated . . . on this side of the Atlantic,” by the time of the

Founding. Rahimi, 144 S. Ct. at 1899; but see 69 F.4th at 120–24 (Krause, J.,

dissenting). Indeed, the only subset of these “group” laws that Rahimi does not

specifically undermine are those targeting people who refused to take loyalty oaths

during the Revolutionary War. But there was ample reason to reject reliance on those

laws before Rahimi, and Rahimi did not change that. See, e.g., Folajtar v. United

States, 980 F.3d 897, 914–15 (3d Cir. 2020) (Bibas, J., dissenting) (“To ensure peace

and safety, the colonies had to disarm [loyalists].”).

      Next, the majority rejected the Government’s argument that, because

“founding-era practice was to punish some felony offenses with death,” it must

therefore be appropriate to disarm modern felons, who are not put to death, for the

rest of their life. 69 F.4th at 105 (cleaned up). As the majority explained: “The

greater does not necessarily include the lesser: founding-era governments’ execution

of some individuals convicted of certain offenses does not mean that the State, then

or now, could constitutionally strip a felon of his right to possess arms if he was not

executed.” Id. Of course, Range’s offense was a misdemeanor, so this argument does

not apply to him.


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      In any event, Rahimi does not undermine this Court’s reasoning. To be sure,

Rahimi did engage in a form of greater-includes-the-lesser reasoning, stating that “if

imprisonment was permissible to respond to the use of guns to threaten the physical

safety of others, then the lesser restriction of temporary disarmament that Section

922(g)(8) imposes is also permissible.” 144 S. Ct. at 1902. But that analysis is

distinct from the Government’s argument here. While in Rahimi, the “how” of the

historical and modern laws’ responses to “the use of guns to threaten the physical

safety of others” were different in degree, they were motivated by precisely the same

concern with the unlawful use of firearms. Id. In contrast, here, the reason for

historically punishing felonies with death—retributive justice for crimes judged to

be sufficiently serious, see 4 WILLIAM BLACKSTONE, COMMENTARIES ON THE LAWS

OF ENGLAND 54 (1769)—is dissimilar to the dissent’s own formulation of the felon

possession ban as an expression of “legislatures’ longstanding authority to disarm

groups who pose a threat to the rule of law.” Range, 69 F.4th at 128 (Krause, J.,

dissenting). Despite a superficial similarity, the “greater includes the lesser”

argument engaged in by the dissent is entirely unmoored from the guideposts of the

comparison between “how” and “why” historical and modern statutes restrict the

right that were critical to Rahimi’s reasoning. It is, instead, predicated on the idea—

entirely foreign to any historical restriction on the right to keep and bear arms cited

by the Government or the dissents in this case—that lifetime deprivation of Range’s


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constitutional right to own firearms is a justifiable punitive measure, excused by the

State’s forbearance in not simply executing him for the failure to properly report

lawn mowing income when applying for benefits. See id. at 126–27 (Krause, J.,

dissenting) (“Those who committed grave felonies—both violent and non-violent—

were executed. A fortiori, the ubiquity of the death penalty suggests that the

Founding generation would have had no objection to imposing on felons the

comparatively lenient penalty of disarmament.”). There is no reason why, if such

logic is accepted, Congress could not tomorrow pass a law depriving anyone

convicted of a felony of their Fourth Amendment rights for as long as they live—

and doing so would undoubtedly make a lot of police work much easier. But such

logic should not be accepted because there is not one shred of historical evidence

that would support such a stunning principle. After all, as both the en banc majority

and Judge Krause in dissent pointed out, if a person were not executed for

committing a felony (as they frequently were not), they retained their Second

Amendment rights for the rest of their lives. Id. at 105 (maj. op.); id. at 127–28

(Krause, J., dissenting).

                                   CONCLUSION

      The Court should forthwith re-enter its judgment holding Section 922(g)(1)

unconstitutional as applied to Range.




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Dated: August 2, 2024                    Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

      In accordance with the Federal Rules of Appellate Procedure and this Court’s

Rules, I certify the following:

      1. This brief complies with the Court’s July 12 order because it contains 3,450

words, excluding the parts of the brief exempted under Federal Rule of Appellate

Procedure 32(f), and has been filed within 21 days from the date of the order.

      2. This brief complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the type style requirements of Federal Rule of

Appellate Procedure 32(a)(6) because it has been prepared in a proportionally spaced

typeface using Microsoft Word in Times New Roman 14-point font.

      3. This brief complies with Local Rule 31.1(c). The text of the electronic brief

is identical to the text in the paper copies supplied to the Court. Pursuant to the July

12 order, 16 paper copies of the brief have been mailed to the court. Further,

VirusTotal was run on the electronic brief and no viruses were detected.

      4. David H. Thompson, Peter A. Patterson, William V. Bergstrom, and

Michael P. Gottlieb are all admitted to practice in the Third Circuit Court of Appeals

and are members in good standing.


                                               /s/ David H. Thompson
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                         CERTIFICATE OF SERVICE

      Pursuant to Federal Rule of Appellate Procedure 25(d) and Local Rule

25.1(b), I hereby certify that on August 2, 2024, I electronically filed the foregoing

document with the Clerk of the Court by using the appellate CM/ECF system.

Service on all counsel for all parties has been accomplished via ECF.

                                                      s/ David H. Thompson
                                                      David H. Thompson

                                                      Counsel for Plaintiff-Appellant




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